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                              IN THE UNITED STATES DISTRICT COURT
                               FOR THE WESTERN DISTRICT OF TEXAS
                                        AUSTIN DIVISION

ROTHSCHILD BROADCAST                                   §
DISTRIBUTION SYSTEMS, LLC,                             §
                                                       §
                 Plaintiff,                            §
                                                       §
v.                                                     §                     1:19-CV-559-RP
                                                       §
RESIDEO TECHNOLOGIES, INC.,                            §
                                                       §
                 Defendant.                            §

                                          FINAL JUDGMENT

         On August 23, 2019, Plaintiff Rothschild Broadcast Distribution Systems, LLC (“Plaintiff”)

filed a notice of voluntary dismissal with prejudice under Federal Rule of Civil Procedure

41(a)(1)(A)(i). (Dkt. 9). Rule 41(a)(1)(A)(i) allows a plaintiff to voluntarily dismiss an action without a

court order by filing a notice of dismissal before the opposing party serves an answer or a motion

for summary judgment. Fed. R. Civ. P. 41(a)(1)(A)(i). Defendant Resideo Technologies, Inc.

(“Defendant”) has not served an answer or a motion for summary judgment. Plaintiff’s notice is

therefore “self-effectuating and terminates the case in and of itself; no order or other action of the

district court is required.” In re Amerijet Int’l, Inc., 785 F.3d 967, 973 (5th Cir. 2015), as revised (May 15,

2015).

         As nothing remains to resolve, the Court renders Final Judgment pursuant to Federal Rule

of Civil Procedure 58.

         IT IS ORDERED that the case is CLOSED.

         IT IS ORDERED that each party bear its own costs.

         SIGNED on August 26, 2019.

                                                    ROBERT PITMAN
                                                    UNITED STATES DISTRICT JUDGE
